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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

MERCIS B.V.,

        Plaintiff,                                         Case No.: 1:19-cv-1226

v.                                                         Judge Jorge L. Alonso

THE PARTNERSHIPS AND UNINCORPORATED                        Magistrate Judge Jeffrey Cummings
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

        Defendants.


                                   NOTICE OF DISMISSAL

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                NO.                                   DEFENDANT
                304                          Belaibo Bathroom Lighting Store
                 39                                   funnys_gallery
                223                                   songchunxuhh
                 44                                     itopgroup
                 87                                     West_wood
                311                                 Child Lovely Store
                345                              Keep Loving Baby Store
                368                                  Pekids toy Store
                314                                 Comtel Toy Store
                100                                AQ FASHION TAG
                414                            Yw Qia Er Decoration Store
                306                               booksew0 fabric Store
                307                              booksew1 quilting Store
                396                                SUPERMOM- Store
                301                                  Bananana Store
                353                                    Luckee Store
                373                                   romjame Store
                335                              GUUUUO Official Store
                361                            Nordic Nursery Decor Store
                309                                  CarpeDiem Store
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DATED: April 18, 2019                                 Respectfully submitted,

                                                      /s/ Keith A. Vogt
                                                      Keith A. Vogt (Bar No. 6207971)
                                                      Keith Vogt, Ltd.
                                                      1033 South Blvd., Suite 200
                                                      Oak Park, Illinois 60302
                                                      Telephone: 708-203-4787
                                                      E-mail: keith@vogtip.com

                                                      ATTORNEY FOR PLAINTIFF



                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on April 18, 2019 with the Clerk of the Court using the CM/ECF
system, which will automatically send an email notification of such filing to all registered attorneys
of record.

                                                      /s/ Keith A. Vogt
